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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
 MELINDA ROBINSON,
                                                Civil Action No.: 21-CV-06673
                           Plaintiff,                             (DGL-MJP)

      - against –

 GENEVA HOUSING AUTHORITY,
 ANDREW TYMAN, individually and in his
 capacity as Executive Director of the Geneva
 Housing Authority, and ELAINE REAVIS,
 individually,

                           Defendants.




                     DEFENDANTS’MEMORANDUM OF LAW
              IN SUPPORT OF ITS MOTION TO DISMISS PURSUANT TO
                              FED. R. CIV. P. 12(c)




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                                PRELIMINARY STATEMENT

       Defendants, by and through their attorneys, Liguori & Houston, PLLC, respectfully submit

this Memorandum of Law in Support of their instant Motion for Judgment on the Pleadings

pursuant to Fed. R. Civ. P. 12(c).

       As an initial matter, the Court should note that the precise nature of each of Ms. Robinson’s

claims are difficult to decipher from the Complaint. She presents a narrative of facts followed by

a “Causes of Action” section containing three (3) enumerated claims referencing legal statutes,

provisions that are presumably to be generally applied against all the named Defendants. Further,

the factual allegations set forth by Ms. Robinson are only sporadically moored to points in time

forcing Defendants to generally apply her chronological factual narrative to all of the numbered

causes of action.

       Plaintiff, Melinda Robinson (hereinafter referred to as “Ms. Robinson”), alleges that

Defendants collectively violated her rights under the Civil Rights Act of 1866, as codified as 42

U.S.C. §§ 1981 and 1982, and the Due Process Clause and the Equal Protection Clauses of the

Fourteenth Amendment of the U.S. Constitution. She asserts that these violations occurred while

she was a participant in the U.S. Housing and Urban Development’s (“HUD’s) Housing Choice

Voucher Program (the “Voucher Program”) which defendant, Geneva Housing Authority

(hereinafter referred to as the “GHA”) administered on behalf of HUD within the jurisdictional

limits of the City of Geneva, New York. Ms. Robinson lays these charges against the GHA and its

employees and co-defendants, Andrew Tyman (hereinafter referred to as “Mr. Tyman”) and Elaine

Reavis (hereinafter referred to as “Ms. Reavis”), for the difficulties she experienced as a recipient

of the Voucher Program.




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       The gravamen of her complaint is that Ms. Reavis with the requisite racial animus

interfered with Ms. Robinson’s ability to contract for housing. However, the complaint fails to

effectively plead plausible causes of action against the Defendants. First, she mistakenly attempts

to bring § 1981 and § 1982 claims against the defendants GHA and Mr. Tyman, in his official

capacity. Further, the Complaint contains conclusory and formulaic allegations based upon Ms.

Robinson’s personal opinion that the Defendants intentionally interfered with her ability to

contract based upon her race.

       Therefore, it is respectfully submitted that this Court must dismiss Ms. Robinson’s

Complaint as a matter of law given that she failed to plausibly plead causes of action against the

Defendants both collectively and individually.



                                PROCEDURAL STATEMENT

       On November 2, 2021, Ms. Robinson filed her complaint. Dkt. No. 1. Thereafter,

Defendants were served by a representative of Ms. Robinson with a copy of the Summons and

Complaint. Dkt. Nos 5-6. Defendants each individually appeared and answered the Complaint on

February 25, 2022. Dkt. No. 8. The Defendants now collectively move pursuant to Fed. R. Civ. P.

12(c) for judgment on the pleadings.



                                  STATEMENT OF FACTS

       A. The Defendants

       The GHA is a municipal housing authority created by the New York State Legislature to

accomplish the purposes set forth in Article XVIII of the New York’s Constitution within the

jurisdictional limits of the City of Geneva, County of Ontario. N.Y. Pub. Hous. Law § 464



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(Consol., Lexis Advance through 2022 released Chapters 1-16). It exists to provide “adequate, safe

and sanitary low rent housing accommodations within the City of Geneva. PBL § 2. The New

York Legislature empowered it to enter into contracts with the federal government for projects or

programs that provide dwelling accommodation for people with low incomes. PBL §37(1)(i). Mr.

Tyman was the Chief Executive Officer of the GHA during the time complained of by Ms.

Robinson. Ms. Reavis was an employee of the GHA during this same time.



           B. The Housing Choice Voucher Program

           The U.S. Department of Housing and Urban Development’s (“HUD”) Housing Choice

Voucher Program (the “Voucher Program”) is a federal housing program. 24 C.F.R. § 982.1.

Public housing authorities (“PHAs”), like the GHA, enter into agreements with HUD to administer

the Voucher Program within their jurisdictional limits. 42 U.S.C. § 1437f; 24 C.F.R. §§ 981.1,

982.151 et seq. Generally, a “family” applies to a PHA to participate in the Voucher Program.1

After selecting a family, the PHA issues a voucher with which the family can shop for housing. 24

C.F.R. § 982.302(a). Once the family negotiates a lease with a prospective landlord, the PHA

inspects the unit and, if the unit meets certain criteria, the PHA enters into a Housing Assistance

Payment (“HAP”) contract with the landlord to pay the subsidized portion of the rent on behalf of

the family. 24 C.F.R. §§ 982.302(b), 982.305, 982.451 et seq. As a prerequisite for approval, the

family must submit a copy of the lease to the administering PHA and request approval during the

term of the voucher. 24 C.F.R. §982.302(c). As a part of the Voucher Program, the participants

are also required to submit annual certifications to the administering PHA establishing the

household’s right to a voucher. 24 C.F.R §982.551(b).



1
    The term “family” as defined by HUD regulations to encompass even a single individual. 24 C.F.R. § 5.403.

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       Once a PHA deems a family eligible for assistance, the assisted family and owner or

landlord of a housing unit establish a three-way relationship with the PHA connected by three

separate but interrelated, contractional relationships. 24 C.F.R. §§ 982.151, 982.302, and 982.308.

The first (1st) is between the PHA and the assisted family for rental assistance in the form of a

rental certificate or voucher. 24 C.F.R. § 982.302(a). The second (2nd) occurs when the assisted

family then locates a privately owned rental unit with an owner or landlord willing to participate

in the Voucher Program and contracts with the owner or landlord to rent the rental unit, contingent

upon PHA approval. 24 C.F.R. § 982.302(c); 24 C.F.R § 982.308(2). The assisted family then

presents the contract to the PHA for review. Id. The third (3rd) contract occurs upon the PHA’s

approval of the submitted rental contract, the PHA will then enter into a housing assistance

payment (“HAP”) contract which obligates the PHA to pay a share of the rent directly to the owner

or landlord. 24 C.F.R § 982.451.



       C. Ms. Robinson’s Time as Voucher Program Recipient.

       Ms. Robinson began her contractual relationship with the GHA sometime in the fall of

2015. Dkt No. 1, ¶7-8, 19. She states that she applied and was subsequently accepted into the

Voucher Program administered by the GHA within the City of Geneva, New York. Id. Sometime

after her acceptance, Ms. Robinson came into contact with Ms. Reavis at the GHA. Id., ¶20. The

pleadings do not inform the Court precisely when Ms. Reavis and Ms. Robinson came into contact.

See generally, Id. It can only be presumed that they met shortly after Ms. Robinson entered into

the Voucher Program based upon Ms. Robinson’s ambiguous statement that she suffered “years”

of personal indignity from Ms. Reavis’s alleged racialized statements and the GHA’s inaction to

her complaints. Id., ¶62.



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        Ms. Robinson gives the Court and Defendants little information concerning this time in the

Voucher Program. Instead, she focuses the Court’s attention to events that began in the fall of 2017

and the fall of 2018. See generally, Id.

        In September of 2017, Ms. Robinson alludes to an issue with the GHA’s administration of

the Voucher Program. Id., ¶¶ 40-56. Specifically, Ms. Robinson claims that she reported two

changes to her household’s income to the GHA and at the same time noted to the GHA what she

considered an improper addition to her household.2 Id., ¶¶ 40-43. Ms. Robinson fails to clearly

state when she discovered that her Voucher Program subsidy had not changed as she had

anticipated it would based upon the information she previously supplied to the GHA. Id., ¶¶ 43The

pleadings require a presumption that the discovery occurred either in September or October of

2017. Id.. Ms. Robinson acknowledges that Ms. Reavis re-reviewed her file and corrected the calculation

although she alleges the calculation remained incorrect but fails to provide even any evidence as to the date

of this correction, making it difficult to contextualize the acts of the GHA and Ms. Reavis. Id. ¶44.

        In November of 2017, Ms. Reavis notified Ms. Robinson that she would be terminated

from the Voucher Program based upon her household’s “income”. Id., ¶46. Ms. Robinson then

made requests to Ms. Reavis and the GHA for a fair hearing to correct what she considered a

mistake in her household’s income calculation. Id., ¶¶47-48. The GHA corrected the calculation

to re-instate or otherwise re-qualify Ms. Robinson for the Voucher Program without conducting a

fair hearing. Id., ¶49. While Ms. Robinson does not provide any timeline for these events, she does

acknowledge that her file held by the GHA had a memo dated November 9, 2017, which she claims

identified the calculation errors Ms. Reavis made and directed her to correct the issues. Id., ¶51.


2
  Voucher Program participants are under a duty to report their household’s composition and income on an annual
basis as well as at any time the household’s composition or income changes. 24 C.F.R. § 982.551. PHAs utilize this
information to determine the amount of rental assistance the household may receive under the Voucher Program. 24
C.F.R. § 982.505.


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Nevertheless, Ms. Robinson’s pleadings affirmatively states that her participation in the Voucher

Program continued given that she again alleges her household income was incorrectly calculated

for December 1, 2017. Id., ¶45.

           Ms. Robinson’s pleadings are rather opaque regarding the next series of events that

occurred in the fall of 2018 that she claims ultimately led her to surrender her voucher. Sometime

in or around November of 2018, Ms. Robinson received a voucher for a one-bedroom apartment

from the GHA. Id., ¶22. She believed her household to be eligible for a two-bedroom voucher.3

Id. This alleged error was not discovered until she attempted to secure and enter into a lease for a

two-bedroom apartment (hereinafter referred to as the “North Street Apartment”) sometime in

November of 2018. Id., ¶¶23, 32. Ms. Robinson’s pleadings indicate that these events occurred no

later than November 19, 2018 – the date she claims she requested a fair hearing regarding her

voucher.4 Id., ¶25.

           While a formal hearing was not held, Ms. Robinson and Ms. Reavis scheduled a meeting

on or about November 26, 2018 to discuss the voucher issue with Ms. Reavis who, according to

Ms. Robinson, had been on vacation. Id., ¶26. Ms. Robinson claims that the landlord for the North

Street Apartment stated that he would hold the apartment until she had the opportunity to speak

with Ms. Reavis. Id., ¶27. She alleges that she confirmed this fact sometime on November 26,

2018. Id. Based upon the timeline presented by Ms. Robinson, Ms. Reavis also spoke to the North

Street Apartment’s landlord before their meeting and was informed that the apartment was no

longer available. Id., ¶28. Ms. Robinson, during her meeting with Ms. Reavis, contacted the

landlord to confirm the status of the apartment. Id., ¶29. The landlord then informed Ms. Robinson


3
  Ms. Robinson does not explain her basis for stating that she was entitled to a two-bedroom voucher while only
receiving a one-bedroom voucher which as the pleadings suggest occurred in sometime at the end of 2017.
4
    This Court may take judicial notice that November 19, 2018 was the Monday of Thanksgiving week

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that he spoke with Ms. Reavis who stated that she was not eligible for the apartment. Id. Ms.

Robinson’s complaint indicates that prior to the meeting and subsequent to the correction of the

voucher, Ms. Reavis interacted with the North Street Apartments’ landlord and informed him that

Ms. Robinson only had a one-bedroom voucher. Id., ¶29. The North Street Apartment was then

leased to another party. Id., ¶27. Additionally, it should be noted that Ms. Robinson does not plead

or even suggest that there was an offer or acceptance on the North Street Apartment. Id. ¶ 27. Ms.

Robinson’s pleading vaguely references a promise by the landlord to later contract with Ms.

Robinson. Id. After the meeting between Ms. Robinson and Ms. Reavis, the GHA reviewed its file

and issued Ms. Robinson a two-bedroom voucher. Id., ¶31.

       The series of events composing Ms. Robinson’s final claim, again because of the

opaqueness of her pleading, either occurred concurrently with the North Street Apartment event

or shortly thereafter. Presumably, Ms. Robinson met with the property manager at the Geneva

Garden Apartments (the “Geneva Apartments”) sometime after her meeting with Ms. Reavis on

November 26, 2018. Id., ¶¶ 31, 34-36. During her meeting with the property manager for the

Geneva Apartment, Ms. Robinson witnessed a discussion between the property manager and her

daughter in which she claims a plan was made to have lunch with Ms. Reavis on November 28,

2018. Id., ¶35. Ms. Robinson’s meeting with the property manager appears to have occurred on

November 27, 2018, as she states that the showing of the Geneva Apartment occurred the day

before the claimed lunch meeting. Id., ¶ 38. She then claims that the property manager of the

Geneva Apartment refused to contract with her on or after November 28, 2018. Id., ¶¶ 37-38. Ms.

Robinson attributes the refusal to the lunch meeting between the property manager’s daughter and

Ms. Reavis which she alleges occurred on November 28, 2018. Id., ¶¶ 35, 37-38. The complaint




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suggests the denial came on November 28, 2018, the same day Ms. Robinson filed a complaint

with the GHA concerning Ms. Reavis. Id., ¶36.

       Ms. Robinson would eventually withdraw from the Voucher Program in January of 2019

because she “lost confidence” in the structures that were supposed to help her even after she had

her voucher transferred to another county. Id., ¶65



                                   STANDARD OF REVIEW

       After the close of the pleading, a party may move for judgment on the pleadings so long as

it will not delay trial of the matter. Fed. R. Civ. Pro. 12(c); Mohnkern v. Equifax Info. Servs., LLC,

No. 19-CV-6446L, 2021 U.S. Dist. LEXIS 218532, at *5-6 (W.D.N.Y. Nov. 10, 2021). The

standard applied by the court mirrors that for motions brought under Rule 12(b)(6) of the Federal

Rules of Civil Procedure. Id. (citing, Hayden v. Paterson, 594 F.3d 150, 160 [2d Cir. 2010]).

       In order to survive a Rule 12(c) motion, a complaint must contain sufficient facts “‘to state

a claim to relief that is plausible on its face.’” Id. (citing, Graziano v. Pataki, 689 F.3d 110, 114

[2d Cir. 2012]; quoting, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L.

Ed. 2d 929 [2007]). “‘A complaint has facial plausibility when the plaintiff pleads factual contents

that allows the court to draw reasonable inferences that the defendant is liable for the misconduct

alleged.’” (Id. [quoting, Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868

[2009]). The “plausibility standard” does not require probability but asks for a pleading to contain

more than a sheer possibility that a defendant acted in an unlawful manner toward plaintiff. Id.

While at this stage of the case the court must accept the factual allegations as being true, it does

not have to accept “‘legal conclusions, deductions or opinions couched as factual allegations” as

being true. Id. (quoting, In re NYSE Specialists Sec. Litig., 503 F.3d 89, 95 [2d Cir. 2007]



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[Sotomayor, J.], cert. denied sub nom., California Public Employees' Ret. Sys. v. New York Stock

Exch., Inc., 552 U.S. 1291, 128 S. Ct. 1707, 170 L. Ed. 2d 534 [2008]).



                                           ARGUMENT

       Ms. Robinson’s Complaint fails to plausibly state causes of actions against the Defendants.

At the motion to dismiss stage, a plaintiff’s complaint must sufficiently allege facts to plausibly

establish a cause of action. Id. While the burden does not require a plaintiff to show the probability

of her claim, she is required to show more than the sheer possibility that the defendants acted in

an unlawful manner. Id. Here, Ms. Robinson’s complaint plainly fails to state a claim against any

of the Defendants. First, Ms. Robinson lacks standing to bring causes of action under 42 U.S.C.

§§1981 and 1982 against the GHA and Mr. Tyman in his professional capacity. Second, Ms.

Robinson failed to state plausible causes of action under Sections 1981, 1982, and 1983 against all

of the Defendants based upon her conclusions drawn from Ms. Reavis’ alleged and

uncontextualized statements.



                                             POINT I

                    Ms. Robinson Failed to State a Claim Against the GHA

       “To state a claim under § 1983, a plaintiff must allege that (1) the challenged conduct was

attributable at least in part to a person who was acting under color of state law and (2) the conduct

deprived the plaintiff of a right guaranteed under the Constitution of the United States.” Walker v.

City of Rochester, No. 6:19-cv-06334(MAT), 2019 U.S. Dist. LEXIS 137496, at *12-13

(W.D.N.Y. Aug. 14, 2019)(quoting, Snider v. Dylag, 188 F.3d 51, 53 [2d Cir. 1999][citing, Dwares

v. City of New York, 985 F.2d 94, 98 [2d Cir. 1993]). Thus, to survive a motion to dismiss, “the



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critical substantive inquiry, then, is whether the plaintiff has alleged facts that would, if believed,

show that she was deprived of the constitutional rights identified in her complaint.” Velez v. Levy,

401 F.3d 75, 84 (2d Cir. 2005)(quoting Gomez v. Toledo, 446 U.S. 635, 640 [1980]). Moreover,

it is well settled in this Circuit that the “personal involvement of defendants in alleged

constitutional deprivations is a prerequisite to an award of damages under §1983.’” Standish v.

Vill. of Albion, No. 17CV980V, 2019 U.S. Dist. LEXIS 143957, at *13 (W.D.N.Y. Aug. 22,

2019)(quoting, Moffitt v. Town of Brookfield, 950 F.2d 880, 885 [2d Cir. 1991]; citing, Wright v.

Smith, 21 F.3d 496, 501 [2d Cir. 1994]; Colon v. Coughlin, 58 F.3d 865, 873 [2d Cir. 1995];

Provost v. City of Newburgh, 262 F.3d 146, 154 [2d Cir. 2001]).

       “‘[֥Municipal housing authorities] may be sued directly under § 1983 for constitutional

deprivations inflicted upon private individuals pursuant to governmental custom, policy,

ordinance, regulation, or decision.’” Walker, No. 6:19-cv-06334(MAT), 2019 U.S. Dist. LEXIS

137496, at *13-14 (quoting, Batista v. Rodriguez, 702 F.2d 393, 397 [2d Cir. 1983][citing, Monell

v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658 [1978]). A municipal housing authority,

like other municipal entities, “‘cannot be held liable solely because it employs a wrongdoer; in

other words, a municipality cannot be held liable under § 1983 on a respondent superior theory.’”

Id. (quoting, Monell, 436 U.S. at 694). To hold a governmental entity “under § 1983 for the

unconstitutional actions of its employees, a plaintiff is required to plead and prove three elements:

(1) an official policy or custom that (2) causes the plaintiff to be subjected to (3) a denial of a

constitutional right.’” Id. (quoting, Batista, 702 F.2d at 397); see also, Piechowicz v. Lancaster

Cent. Sch. Dist., No. 17-CV-00845V(F), 2018 U.S. Dist. LEXIS 47772, at *23-24 (W.D.N.Y. Mar.

21, 2018); Mustafa v. Povero, No. 15-CV-6714 CJS, 2017 U.S. Dist. LEXIS 153236, at *10-11




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(W.D.N.Y. Sep. 19, 2017). The existence of a municipal policy or custom may be pleaded in

several ways:

       A plaintiff may allege (1) the existence of a formal policy which is officially
       endorsed by the municipality; (2) actions taken or decisions made by municipal
       officials with final decision making authority, which caused the alleged violation
       of plaintiff's civil rights; (3) a practice so persistent and widespread that it
       constitutes a custom of which constructive knowledge can be implied on the part
       of policymaking officials; or (4) a failure by policy makers to properly train or
       supervise their subordinates, amounting to deliberate indifference to the rights of
       those who come in contact with municipal employees. Id. (quoting, Calicchio v.
       Sachem Cent. Sch. Dist., 185 F. Supp. 3d 303, 311 [E.D.N.Y. 2016]).


       Here, Ms. Robinson’s Complaint fails to plausibly plead the necessary facts to support her

claim under § 1983 which would entitle her to relief against the GHA. See, Batista, 702 F.2d at

397. She has not alleged the existence of a formal policy of the GHA to interfere with Voucher

Program recipient’s leases or the leasing process. The GHA is authorized under the Voucher

Program to refuse to enter into a HAP Contract with any landlord. 24 C.F.R. § 982.306(c). The

Complaint also fails to establish that there was a pattern or practice so persistent to constitute a

custom. Ms. Robinson admits that she received Voucher Program benefits for two years before

her first claimed act of discrimination, which occurred well before she brought this instant action.

In total she presents two instances of alleged discriminatory practice that occurred within a short

temporal period and does not demonstrate a persistent and widespread practice. Ms. Robinson

failed to plead that Ms. Reavis was an official with the GHA with final decision-making authority

within the GHA. Indeed, her Complaint contradicts this fact as she freely acknowledges that Ms.

Reavis had a supervisor. Dkt. No. 4, ¶48. Similarly, Ms. Robinson’s Complaint fails to establish

that the GHA failed to properly train or supervise Ms. Reavis. Ms. Robinson also acknowledges

that the GHA was quick to review and react to her concerns concerning her housing choice

voucher. Id., ¶¶40-51.

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       A. Ms. Robinson’s Complaint Fails to Establish a Plausible Cause of Action
          Under §§ 1981 and 1982 Against the GHA.

       It should be noted that Ms. Robinson mistakenly included the GHA in her First and Second

Causes of Action under §§ 1981 and 1982. It is well established that § 1983 provides the exclusive

federal remedy for claims under §§ 1981 and 1982 alleged against state actors. Comcast Corp. v.

Nat'l Ass'n of African Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020)(“the Court’s ‘precedents

have . . . construed §§1981 and 1982 similarly.’”)(quoting, CBOCS West, Inc. v. Humphries, 553

U. S. 442, 447[2008]); Abdelal v. Kelly, 726 F. App'x 8, 12 n.1 (2d Cir. 2018)(citing, Jett v. Dallas

Indep. Sch. Dist., 491 U.S. 701, 733 [1989]); Zhou v. Roswell Park Cancer Inst. Corp., No. 19-

CV-1200-LJV-MWP, 2021 U.S. Dist. LEXIS 180155, at *8 (W.D.N.Y. Sep. 21, 2021)(citing,

Duplan v. City of New York, 888 F.3d 612, 621 [2d Cir. 2018]; Sooroojaballi v. Port Auth. of

N.Y. & N.J., 816 F. App'x 536, 539 n.1 [2d Cir. 2020]); see also, Williams v. N.Y.C. Hous. Auth.,

No. 18-cv-5912 (JGK)(RWL), 2021 U.S. Dist. LEXIS 54831, at *28 (S.D.N.Y. Mar. 23, 2021).

To the extent that Ms. Robinson’s claims under §§ 1981 and 1982 may be construed as brought

under the Equal Protection Clause through § 1983, they still fail as matter of law as she is unable

to plausibly establish the challenged acts were performed pursuant to a policy or custom as

required to maintain a § 1983 claim against a municipality. Duplan, 888 F.3d at 621.


       B. Ms. Robinson Failed to State a Claim Under the Equal Protection Clause of the
          Fourteenth Amendment.

       To state a Section 1983 claim predicated upon an alleged violation of the Equal Protection

Clause, U.S. Const. Amend. XIV, §1, a plaintiff “must demonstrate the [she] was treated

differently [from] others similarly situated as a result of intentional or purposeful discrimination.”

Phillips v. Girdich, 408 F.3d 124, 129 (2d Cir. 2005). To plead intentional discrimination, a

plaintiff must allege that the state expressly classified on the basis of a suspect

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characteristic, applied a neutral program in an intentionally discriminatory manner, or promulgated

a policy that was motivated by discriminatory animus and that had an adverse effect. Fox v. Poole,

No. 06CV148 (CONSENT), 2008 U.S. Dist. LEXIS 33833, at *40-42 (W.D.N.Y. Apr. 24,

2008)(citing inter alia, Brown v. City of Oneonta, 221 F.3d 329, 337 [2d Cir. 1999]).

       A plaintiff’s conclusory allegations of disparate treatment and personal opinion that such

treatment was motivated by discriminatory intent are insufficient to state § 1983 intentional

discrimination claim. Nash v. McGinnis, 585 F.Supp.2d 455, 462 (W.D.N.Y. 2008); Hamzik v.

Office for People with Developmental Disabilities, 859 F.Supp.2d 265, 280 (N.D.N.Y.

2012); Thomas v. City of New York, 143 F.3d 31, 37 (2d Cir. 1998) (affirming dismissal of

an Equal Protection Clause claim when "plaintiffs did not allege sufficient facts to support

discriminatory intent . . . ."); see also Patterson v. County of Oneida, 375 F.3d 206, 226 (2d Cir.

2004) ("[A] plaintiff pursuing a ... denial of equal protection ... must show that the discrimination

was intentional."); Knight v. Conn. Dep't of Public Health, 275 F.3d 156, 166 (2d Cir.

2001) (Plaintiffs must show "that the decisionmakers ... acted with discriminatory purpose.")

(quoting McCleskey v. Kemp, 481 U.S. 279, 292, 107 S.Ct. 1756, 95 L.Ed.2d 262 [1987])

(quotation marks omitted)).

       With respect to allegations of discriminatory intent based upon remarks made to a plaintiff,

the complaint must contextualize statements in order to establish a discriminatory intent given that

““racially- ambiguous, sporadic remarks made by non-decision makers are insufficient evidence

of race discrimination . . .” Big Apple Tire, Inc. v. Telesector Res. Grp., Inc., 476 F.Supp.2d 314,

327 (S.D.N.Y.2007). This is especially true, when “there is insufficient evidence from which a

reasonable fact finder could conclude that the question was laced with racial innuendo as opposed

to” a neutral, commonplace effort to identify the group being addressed. Feacher v.



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Intercontinental Hotels Grp., 563 F.Supp.2d 389, 404 (N.D.N.Y.2008). Phrases such as “ ‘you

people’ ... could just as easily be interpreted as [having] a negative racial connotation,” especially

when Plaintiffs provide persuasive “greater specificity as to the context of [such phrases'] usage,”

Wooten v. Reconstruction Home, Inc., No. 02 Civ. 01278(NPM), 2005 WL 1502149, at *11

(N.D.N.Y. June 24, 2005) (concluding that use of “you people,” combined with evidence of

discriminatory treatment that began only after the defendant discovered that the plaintiff was

African–American, could provide a partial basis for drawing an inference of discrimination);

Griffin v. Ambika Corp., 103 F.Supp.2d 297, 314 (S.D.N.Y.2000).

       The essence of Ms. Robinson’s Complaint, with respect to the GHA, is that Ms. Reavis

incorrectly calculated her benefits under the Voucher Program for two consecutive years. She

attributes this error to Ms. Reavis’ perceived racial animus based upon non-specific, and

uncontextualized, statements allegedly made by Ms. Reavis over an unspecified period of time.

Ms. Robinson presents only personal opinion in her Complaint concerning the GHA and Ms.

Reavis. In the two instances where Ms. Robinson claims Ms. Reavis acted with discriminatory

intent, she acknowledges that the GHA and Ms. Reavis corrected any miscalculation in her

Voucher Program benefits within a short period of time. She was never denied her rights under the

Voucher Program. Ms. Robinson’s Complaints were always heard by the GHA and Ms. Reavis.

Moreover, she acknowledges a positive reaction by the GHA after each dispute described in her

Complaint. The Complaint contains nothing more than conclusion and speculation that the GHA

intentionally discriminated against Ms. Robinson based upon her race.




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       C. Ms. Robinson Failed to Plead a Plausible Claim for a Deprivation of Her Rights
          Under Due Process Clause of the Fourteenth Amendment.

       To state a substantive due process claim, a party’s pleadings must first establish that they

had a valid “property interest” in some benefit that was protectible under the Fourteenth

Amendment at the time they were deprived of that benefit. Brady v. Colchester, 863 F.2d 205,

211-12 (2d Cir. 1988). However, the negligent acts by state actors do not affect a “deprivation”

for the purposes of the Due Process Clause, and the random and unauthorized conduct of a

government actor, even if intentional, does not implicate the Due Process Clause if the state

provides a meaningful post-deprivation remedy, such as, for example, a tort remedy in its own

courts. Daniels v. Williams, 474 U.S. 327, 330-31, 106 S. Ct. 662, 664-65 (1986)(The Court held

negligence does not constitute a “deprivation”); Hudson v. Palmer, 468 U.S. 517, 533, 104 S. Ct.

3194, 3203-04 (1984). A household’s continued receipt of benefits under the Voucher Program

plainly is a protectable “property interest” in the program deserving due process protection. Price

v. Rochester Hous. Auth., No. 04-CV-6301P, 2006 U.S. Dist. LEXIS 71092, at *17-19 (W.D.N.Y.

Sep. 29, 2006).

       Ms. Robinson’s Complaint fails to plausibly plead a violation of due process rights on the

part of the GHA. The Complaint at best alleges negligence on the part of the GHA for

miscalculations of her benefits under the Voucher Program. However, she acknowledges the GHA

worked to correct the errors as soon as they were identified. The Complaint merely contains

conclusory allegations against the GHA in this regard and does not establish a deprivation of rights.

       It is respectfully submitted that Ms. Robinson failed to plead a plausible cause of action

and that her Complaint must be dismissed as a matter of law against the GHA.




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       D. Additionally, Ms. Robinson’s Complaint Suffers from the Fatal Procedural
          Infirmity in That It Was Untimely Against the GHA.

       A claim accrues under §1983 when a plaintiff “knows or has reason to know” of the injury

that is the basis of his or her action. Tomasz Piotr Helwing v. Pszeniczny, No. 21-843, 2022 U.S.

App. LEXIS 5470, at *4-5 (2d Cir. Mar. 2, 2022)(quoting, Eagleston v. Guido, 41 F.3d 865, 871

[2d Cir. 1994]). This means Section 1983 claims filed in New York are subject to a three-year

statute of limitations. Id. (quoting, Hogan v. Fischer, 738 F.3d 509, 517 [2d Cir. 2013]).

       Here, Ms. Robinson’s Complaint against the GHA is barred by the applicable statute of

limitations. According to Ms. Robinson, the onset of the GHA’s alleged discrimination began in

2017. Dkt. No. 4, ¶64. More particularly, Ms. Reavis’ dispute over the household income

calculation in September and October of 2017. Id., ¶¶40-45. As discussed infra, the GHA may

only be held liable to Ms. Robinson by demonstrating custom, policy, ordinance, regulation, or

decision. Walker, No. 6:19-cv-06334(MAT), 2019 U.S. Dist. LEXIS 137496, at *13-14 (quoting,

Batista, 702 F.2d at 397; citing, Monell, 436 U.S. at 658). The gist of the Complaint against the

GHA is focused on the improper voucher issuance in 2017 and in 2018 to establish a custom,

policy, or practice of unlawful conduct on the part of the GHA. However, it also establishes an

accrual date for her claims against the GHA sometime in 2017. Assuming, in arguendo, an accrual

date of December 31, 2017 her time within which to bring a claim against the GHA expired on

December 31, 2020.

       In the context of discrimination cases, a plaintiff may invoke the continuous violation

doctrine which creates an exception to the “knew-or-should-have-known accrual date”. Harris v.

City of N.Y., 186 F.3d 243, 248 (2d Cir. 1999). In order to do so, “a plaintiff must show either (1)

"specific ongoing discriminatory policies or practices," or (2) "specific and related instances of

discrimination [that] are permitted by the employer to continue unremedied for so long as to

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amount to a discriminatory policy or practice.” Bliss v. Rochester City Sch. Dist., 196 F. Supp. 2d

314, 322 (W.D.N.Y. 2002)(quoting, Quinn v. Green Tree Credit Corp., 159 F.3d 759, 766 [2d Cir.

1998][further citation omitted]). As discussed infra, Ms. Robinson’s Complaint fails to establish

the alleged discrimination of Ms. Reavis was part of an ongoing practice permitted by the GHA.

She further acknowledges that the GHA, and Ms. Reavis, timely corrected any alleged errors in

calculating her household income or revising her housing voucher in a timely manner. Ms.

Robinson’s Complaint does not plausibly plead any specific ongoing discriminatory practices or

instances of discrimination that went unremedied for an extended period of time.

       Thus, it is respectfully submitted that Ms. Robinson’s claims against the GHA must be

dismissed as a matter of given that that they are fatally untimely as against the GHA.



                                            POINT II

         Ms. Robinson’s First Cause of Action Against Ms. Reavis In Her Personal
                            Capacity Fails as a Matter of Law

       “To establish a claim under § 1981, a plaintiff must allege facts in support of the following

elements: (1) the plaintiff is a member of a racial minority; (2) an intent to discriminate on the

basis of race by the defendant; and (3) the discrimination concerned one or more of the activities

enumerated in the statute (i.e. make and enforce contracts, sue and be sued, give evidence, etc.)”.

Mian v. Donaldson, Lufkin & Jenrette Sec. Corp., 7 F.3d 1085, 1087 (2d Cir. 1993) cert.

denied, 516 U.S. 824, 116 S. Ct. 88, 133 L. Ed. 2d 45 (1995); see also Broich v. Inc. Vill. of

Southampton, 462 Fed. Appx. 39, 42 (2d Cir. 2012) (summary order). With respect to the second

element, a plaintiff must "offer more than conclusory allegations that [she] was discriminated

against because of [her] race." Mian, 7 F.3d at 1088. A plaintiff must “plead sufficient facts to

state a plausible claim for relief under 42 U.S.C. § 1981,” and cannot rely on “wholly conclusory

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allegations of discriminatory intent.” Zavalidroga v. Cote, 395 Fed. Appx. 737, 740 (2d Cir. 2010)

(summary order); see also Clyburn v. Shields, 33 Fed.Appx. 552, 555 (2d Cir. 2002) (summary

order) ("claims of race-based discrimination under . . . 42 U.S.C. § 1981 . . . require that intentional

discrimination be alleged in a non-conclusory fashion"). Furthermore, a claim brought under §

1981 requires a plaintiff to plausibly plead that “but for” the intentional discrimination she would

not have been denied housing. Comcast Corp., 140 S. Ct. at 1014(The ancient and simple “but for”

causation test applies to federal antidiscrimination laws); see, Gatling v. West, 850 F. App'x 91,

96-97 (2d Cir. 2021).

       Any Section 1981 claim also must "initially identify an impaired 'contractual relationship'

under which the plaintiff has" or would have rights, had it been formed but-for the intentional

discriminatory action of defendant. Comcast Corp., 140 S. Ct. at 1019; Domino's Pizza, Inc. v.

McDonald, 546 U.S. 470, 476, 126 S. Ct. 1246, 163 L. Ed. 2d 1069 (2006); Lively v. WAFRA

Inv. Advisory Grp., Inc., No. 20-2709, 2021 U.S. App. LEXIS 21857, at *12 n.5 (2d Cir. July 23,

2021)(“Application of the but-for causation standard at the pleading state is not affected by the

McDonnell Douglas burden-shifting framework”). While Section 1981 does apply when the

actions of third parties impede contract formation or preclude offers to contract, "liability only

attaches to persons who actually had the power or authority to prevent the plaintiff from entering

into a contract with the third party." Robledo v. Bond No. 9, 965 F.Supp.2d 470, 477 (S.D.N.Y.

2013); see also Ginx, Inc. v. Soho Alliance, 720 F.Supp.2d 342, 347, 357-58 (S.D.N.Y.

2010)(holding that a group of community leaders who filed a lawsuit to prevent plaintiffs from

obtaining a permit to operate a restaurant did not have the power to impact the award of the permit

for the purposes of a Section 1981 claim).




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       In this case, Ms. Reavis disputes the allegation that she ever made any racialized statements

as alleged in the Complaint. Assuming, Ms. Robinson’s claims as true for the purposes of this

motion, the allegations as discussed supra do not plausibly establish an intent, on the part of Ms.

Reavis, to discriminate against Ms. Robinson given that the Complaint does not contextualize these

statements. See, Battle v. Carroll, No. 11-CV-624S, 2014 U.S. Dist. LEXIS 58759, at *10

(W.D.N.Y. Apr. 26, 2014)(“ In fact, there can be no dispute that the phrase "you people" is

ambiguous and not necessarily indicative of discrimination.”); Big Apple Tire, Inc., 476 F. Supp.

2d at 327. The focal points of Ms. Robinson’s Complaint are the improper or negligent issue of

vouchers in the fall of 2017 and 2018. With respect to the 2017 voucher issue, Ms. Robinson does

not claim any interference on the part of Ms. Reavis with any rental contract.

       Furthermore, the alleged interference in 2018 by Ms. Reavis does not provide a plausible

cause of action under § 1981. It may be understandable to interpret the denial of the North Street

Apartment as some conspiratorial act on the part of Ms. Reavis. However, a close reading of the

Complaint does not support this interpretation in the context of when the parties conversed with

each other. It’s clear that Ms. Robinson spoke with the North Street Apartment landlord prior to

the meeting and before he spoke with Ms. Reavis. Ms. Reavis and the landlord must have spoken

after Ms. Robinson but before the meeting between Ms. Robinson and Ms. Reavis. Before this

meeting, Ms. Robinson was still only issued a one-bedroom voucher. Any conversations Ms.

Reavis had with the landlord would have reflected this fact until the meeting when Ms. Robinson

admits a two-bedroom voucher was issued by the GHA. Ms. Robinson also fails to appreciate that

the GHA has the discretionary authority to deny a HAP Contract to any landlord.

       Furthermore, Ms. Robinson’s allegations regarding Ms. Reavis and the Geneva Garden

Apartment are even more speculative and conclusory than those concerning the North Street



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Apartment. She merely assumes some nefarious action on the part of Ms. Reavis because a

landlord refused to rent to her. The basis of her assumption is a lunch meeting that a property

manager’s daughter may or may not have had with Ms. Reavis. There is no allegation in the

Complaint that could plausibly establish Ms. Reavis took any action to deny Ms. Robinson an

apartment. However, Ms. Robinson acknowledges that the ultimate authority to accept her as a

tenant rested with the Geneva Garden Apartments not Ms. Reavis or the GHA.

       Thus, it is respectfully submitted that Ms. Robinson’s First Cause of Action against Ms.

Reavis must be dismissed as a matter of law given that she failed to plausibly plead that Ms. Reavis

intentionally discriminated against her which but for the discrimination she would have been able

to contract for an apartment.



                                             POINT III

        Ms. Robinson’s Second Cause of Action Against Ms. Reavis In Her Personal
                           Capacity Fails as a Matter of Law

       Section 1982 provides that "[a]ll citizens of the United States shall have the same right, in

every State and Territory, as is enjoyed by white citizens thereof to inherit, purchase, lease, sell,

hold, and convey real and personal property." 42 U.S.C. § 1982. “Although the text of § 1982 does

not expressly mention the race of the beneficiary of the statute's protections, the Supreme Court

has construed the section to forbid public and private racially discriminatory interference with

property rights." United States v. Nelson, 277 F.3d 164, 177 (2d Cir. 2002) (citing, Jones v. Alfred

H. Mayer Co., 392 U.S. 409, 88 S. Ct. 2186, 2189 [1968]). “[It] is not a comprehensive open

housing law” as compared to the Fair Housing Title of the Civil Rights Act of 1986. Jones, 392

U.S. at 413. Importantly, Section 1982 is only available to plaintiffs that are citizens of the United




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States as compared to Section 1981 which is available to “persons”. Robinson v. 12 Lofts Realty,

Inc., 610 F.2d 1032, 1036 n.9. (2d Cir. 1979).

       In order to state a claim under § 1982 just as with a § 1981, a plaintiff must show

that a deprivation of her rights occurred as a direct result of her race. Bailey v. Walgreen Co., No.

03CV749, 2005 U.S. Dist. LEXIS 52146, at *24 (W.D.N.Y. Oct. 3, 2005)(citing, Jones, 392 U.S.

at 436). In addition to pleading racial animus, a plaintiff suing under these statutes must allege

intentional discrimination and but-for the intentional discrimination she would have been able to

contract for an apartment. Id.; see Phillips v. Hunter Trails Community Ass'n, 685 F.2d 184, 187-

89 (7th Cir. 1982) (intent requirement of § 1981 extends to § 1982 claims).

       Here for the same reasons set forth in Point III, Ms. Robinson’s Complaint fails to state a

cause of action under § 1982 as against Ms. Reavis. It should be noted by the Court that Ms.

Robinson failed to also plead that she is a citizen of the United States and only indicates that she

is a resident of unknown legal status. The Complaint at best demonstrates potential negligence on

the part of Ms. Reavis in calculating Ms. Robinson’s Voucher Program benefits. The

characterization of comments being racialized without context represents nothing more than

conclusory and speculation on the part of Ms. Robinson concerning Ms. Reavis’ views towards

her. Thus, it is respectfully submitted that Ms. Robinson’s Second Cause of Action against Ms.

Reavis must be dismissed as a matter of law given that she failed to plausibly plead that Ms. Reavis

intentionally discriminated against her which but for the discrimination she would have been able

to contract for an apartment.




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                                             POINT IV

        Ms. Robinson’s Causes of Action Alleged Against Mr. Tyman in His Official
                    Capacity Must Be Dismissed as a Matter of Law

        A claim asserted against an individual in his official capacity is in effect a claim against

the entity of which the officer is an agent. Kentucky v. Graham, 473 U.S. 159, 165-66, 105 S. Ct.

3099, 87 L. Ed. 2d 114 (1985) (quoting, Monell, 436 U.S. at 690 n.55; citing, Reynolds v. Giuliani,

506 F.3d 183, 191 [2d Cir. 2007] ["An official capacity suit against a public servant is treated as

one against the governmental entity itself."]). “Within the Second Circuit, where a plaintiff names

both the municipal entity and an official in his or her official capacity, the district courts have

consistently dismissed of the official capacity claims as redundant.” Miller v. Cnty. of Erie, No.

1:17-CV-00928 EAW, 2021 U.S. Dist. LEXIS 187679, at *16-17 (W.D.N.Y. Sep. 30,

2021)(quoting, Phillips v. Cty. of Orange, 894 F. Supp. 2d 345, 385 n.35 [S.D.N.Y. 2012]). Here,

Ms. Robinson cannot maintain the same claims against the GHA as she alleges against Mr. Tyman

in his official capacity. It is well established that a municipal housing authority is a state actor for

the purposes of claims brought under the Civil Rights Acts. Mr. Tyman is the chief executive

officer of the GHA. He is undeniably an officer and agent of the GHA. The official capacity claim

against Mr. Tyman is redundant to those made against the GHA. Thus, it is respectfully submitted

that Ms. Robinson’s first and second causes of action against the GHA and Mr. Tyman, in his

official capacity, must be dismissed as a matter of law.




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                                              POINT V

            Ms. Robinson’s Causes of Action Against Mr. Tyman in His Personal
                   Capacity Must Also Be Dismissed as a Matter of Law

         Supervisors cannot be held liable under § 1983 solely on a theory of respondeat

superior. Scott v. City of Rochester, No. 17-CV-6004-FPG, 2017 U.S. Dist. LEXIS 156399, at

*10-12 (W.D.N.Y. Sep. 25, 2017)(citing, Richardson v. Goord, 347 F.3d 431, 435 [2d Cir.

2003]; Ayers v. Coughlin, 780 F.2d 205, 210 [2d Cir. 1985][requiring "a showing of more than

the linkage in the [] chain of command" to hold a supervisor liable under § 1983]). "To state a

claim under § 1983, a plaintiff must allege the personal involvement of each defendant." Id.

(quoting, Holland v. City of New York, 197 F. Supp. 3d 529, 550 [S.D.N.Y. 2016][citing Williams

v. Smith, 781 F.2d 319, 323 [2d Cir. 1986]). "Conclusory accusations regarding a defendant's

personal involvement in the alleged violation, standing alone, are not sufficient, and supervisors

cannot     be   held    liable    based     solely        on   the   alleged   misconduct     of    their

subordinates." Id. (quoting Kee v. Hasty, No. 01 Civ. 2123, 2004 U.S. Dist. LEXIS 6385, 2004

WL 807071, at *12 [S.D.N.Y. Apr. 14, 2004]). "Rather, a plaintiff in a [§] 1983 action must show

that the supervisor was personally involved in a constitutional violation by either (1) directly

participating in the violation; (2) failing to remedy the violation after learning of it through a report

or appeal; (3) creating a custom or policy fostering the violation or allowing the custom or policy

to continue after learning about it; (4) being grossly negligent in supervising the officers involved;

or (5) exhibiting deliberate indifference to the constitutional rights of inmates by failing to act on

information indicating that unconstitutional acts were occurring." Id. (citing Colon, 58 F.3d at

873). “A conclusory allegation of the personal involvement of supervisors is insufficient to state a

claim for relief.” Id. (citing Bradley v. Rell, 703 F. Supp. 2d, 109, 124-25 [N.D.N.Y. 2010][finding

allegation that a supervisory defendant "responsibility stems from not providing adequate training

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to the officers of his department" insufficient to state a claim for relief]; Houghton v. Cardone, 295

F. Supp. 2d 268, 276-77 [W.D.N.Y. 2003] [finding allegation that supervisory defendant "failed

to adequately train or supervise the officers; (2) knew about and tolerated the officers' allegedly

unlawful behavior; and (3) 'failed to institute a proper system of review and reprimand' of his

deputies so as to prevent the types of unlawful acts alleged" insufficient to plausibly state a claim

for relief]).

        Here, Ms. Robinson’s complaint completely fails to allege the necessary elements to

establish claims under §§ 1981, 1982, or 1983 against Mr. Tyman in his personal capacity. It fails

to provide any plausible allegation that Mr. Tyman with the requisite racial animus acted with the

intent to interfere with Ms. Robinson’s rental application.. She merely set forth conclusory and

formulaic allegations that do not describe any involvement by Mr. Tyman in the alleged acts of

Ms. Reavis. In truth, Ms. Robinson is silent as to any circumstance that could plausibly establish

discriminatory intent on the part of Mr. Tyman in his personal capacity. Thus, it is respectfully

submitted that the First Cause of action against Mr. Tyman in his personal capacity must be

dismissed as a matter of law.



                                          CONCLUSION

        In view of the foregoing points, and supporting documents, it is respectfully submitted that

the Plaintiff has failed to sufficiently plead a cause of action as against the Defendants. Therefore,

the Complaint must be dismissed in its entirety and the application for a temporary restraining

order and preliminary injunction be denied as against the Defendants.




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DATED:        h:r:,re7,2022
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